     4:16-cr-03024-RGK-CRZ Doc # 78 Filed: 06/20/22 Page 1 of 1 - Page ID # 179




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                 4:16CR3024

         vs.
                                                                    ORDER
DANNY HUERTA,

                      Defendant.



IT IS ORDERED:

1)      Defendant’s motion to review detention, (Filing No. 76), is granted.

2)      Defendant shall comply with all terms and conditions of supervised release which
        were imposed at sentencing except as follows:

               The defendant shall be released to reside at Saint Francis in Grand
               Island, NE and participate in that facility’s substance abuse treatment
               program. The defendant shall fully comply with the requirements of
               defendant’s treatment plan and all rules of the Saint Francis facility.
               If the defendant is discharged from the facility for any reason
               whatsoever, or leaves the premises of the facility without
               authorization, Defendant shall promptly report to the supervising
               officer or to any law enforcement officer. In addition, irrespective of
               whether Defendant self-reports upon discharge or leaving the facility,
               the United States Marshal, and/or any law enforcement officer is
               hereby authorized and ordered to take the defendant into custody
               and detain the defendant pending a prompt hearing before the court.

3)      The defendant shall arrive at Saint Francis in Grand Island, NE by 1:00 p.m. on
        July 6, 2022. Defense counsel shall communicate with the Marshal to arrange for
        Defendant’s release for transport to Saint Francis in Grand Island, NE.

        June 20, 2022.

                                                  BY THE COURT:

                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
